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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                 CRIMINAL NO. 1:14CR89-15
                                                (Judge Keeley)

  RYAN BUCKLAND,

                   Defendant.

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
        GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        On April 2, 2015, defendant, Ryan Buckland (“Buckland”),

  appeared before United States Magistrate Judge John S. Kaull and

  moved for permission to enter a plea of GUILTY to Count Fifty-Eight

  of the Indictment. Buckland stated that he understood that the

  magistrate judge is not a United States District Judge, and

  consented to pleading before the magistrate judge.          This Court had

  referred the guilty plea to the magistrate judge for the purposes

  of   administering    the   allocution   pursuant   to   Federal   Rule   of

  Criminal Procedure 11, making a finding as to whether the plea was

  knowingly and voluntarily entered, and recommending to this Court

  whether the plea should be accepted.

        Based upon Buckland’s statements during the plea hearing and

  the testimony of Sergeant John Rogers of the West Virginia State

  Police, the magistrate judge found that Buckland was competent to

  enter a plea, that the plea was freely and voluntarily given, that
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  he was aware of the nature of the charges against him and the

  consequences of his plea, and that a factual basis existed for the

  tendered plea. On April 3, 2015, the magistrate judge entered an

  Opinion/Report and Recommendation Concerning Plea of Guilty in

  Felony Case (“R&R”) (dkt. no. 350) finding a factual basis for the

  plea and recommended that this Court accept Buckland’s plea of

  guilty to Count Fifty-Eight of the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. The magistrate judge further directed that

  failure to file objections would result in a waiver of the right to

  appeal from a judgment of this Court based on the R&R. After which,

  the parties did not file any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Buckland’s guilty plea, and ADJUGES him GUILTY of the crime

  charged in Count Fifty-Eight of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



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       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

          Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

          1.   The   Probation     Officer    undertake      a   presentence

  investigation of RYAN BUCKLAND, and prepare a presentence report

  for the Court;

          2.   The Government and Buckland are to provide their versions

  of the offense to the probation officer by April 27, 2015;

          3.   The presentence report is to be disclosed to Buckland,

  defense counsel, and the United States on or before June 12, 2015;

  however, the Probation Officer is not to disclose the sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

          4.   Counsel may file written objections to the presentence

  report on or before June 26, 2015;

          5.   The Office of Probation shall submit the presentence

  report with addendum to the Court on or before July 10, 2015; and

          6.   Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual basis from the statements or motions, on or before July 24,

  2015.




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       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        The magistrate judge remanded Buckland to the custody of the

  United States Marshal Service.

        The   Court   will    conduct    the   sentencing    hearing      for   the

  defendant   on   Tuesday,    August    11,   2015   at   11:30   A.M.    at   the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record, the defendant and all appropriate agencies.

  DATED: April 13, 2015


                                        /s/ Irene M. Keeley
                                        IRENE M. KEELEY
                                        UNITED STATES DISTRICT JUDGE




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